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                                                                                                                                Adjusted
                                                                                            Adjusted            Gross Billing
 Date           Attorney                      Comment                         Gross Hours              Rate                      Billing
                                                                                             Hours                Amount
                                                                                                                                Amount
2/27/2019 Noel Johnson      Draft revised notice letter (post MTD)                    1.4         1.4 $400.00       $560.00       $560.00
                            emails re: order on MTD; PC with JC re: same;
                                                                                                                    $200.00         $0.00
2/27/2019 Noel Johnson      C with KLP re: same                                       0.5           0 $400.00
2/27/2019 Noel Johnson      PC with LK re: notice issues/next steps                   0.3         0.3 $400.00       $120.00       $120.00
                            Draft revised notice letter (post MTD); emails
                                                                                                                    $520.00       $520.00
2/28/2019 Noel Johnson      with team re: same                                        1.3         1.3 $400.00
                            PC with LK re: service; calendar appeal
                                                                                                                    $120.00       $120.00
 3/4/2019 Noel Johnson      deadline; email to team                                   0.3         0.3 $400.00
 3/8/2019 Noel Johnson      Emails re: service on SOS                                 0.3         0.3 $400.00       $120.00       $120.00
                                                                                                                      $40.00       $40.00
3/11/2019 Noel Johnson      Review draft letter to Gates; emails re: same             0.1         0.1 $400.00
3/14/2019 Noel Johnson      PC with LK re: service of NVRA notice                     0.2         0.2 $400.00         $80.00       $80.00
3/20/2019 Noel Johnson      Emails re: service of notice letter                       0.1         0.1 $400.00         $40.00       $40.00
                                                                                                                    $880.00       $880.00
 4/3/2019 Noel Johnson      Work on new complaint; C with KLP re: same                2.2         2.2 $400.00
 4/3/2019 Kaylan Phillips   C with NHJ re: case. Review local rules.                  2.5         1.5 $400.00     $1,000.00      $600.00
 4/4/2019 Noel Johnson      Work on new complaint                                     1.2         1.2 $400.00      $480.00       $480.00
 4/4/2019 Kaylan Phillips   Research re: procedure                                    1.5         1.5 $400.00      $600.00       $600.00
 4/4/2019 Kaylan Phillips   Research procedural rules                                 1.1         1.1 $400.00      $440.00       $440.00
 4/5/2019 Kaylan Phillips   Research procedural rules                                   1           1 $400.00      $400.00       $400.00
 4/8/2019 Noel Johnson      Work on new complaint                                       2           2 $400.00      $800.00       $800.00
 4/8/2019 Kaylan Phillips   Research                                                  4.3           3 $400.00     $1,720.00     $1,200.00
                            Review letter from DOS/Marks re: Notice
                                                                                                                      $40.00       $40.00
 4/9/2019 Noel Johnson      Letter; email re: same with team                          0.1         0.1 $400.00
 4/9/2019 Noel Johnson      Prepare exhibits for New Complaint                        0.1         0.1 $400.00         $40.00       $40.00
 4/9/2019 Noel Johnson      Review KLP's research on re-opening case                  0.1         0.1 $400.00         $40.00       $40.00

                            Incorporate LK and JCA edits to new
                                                                                                                    $680.00       $680.00
                            complaint; additional revisions to same;
 4/9/2019 Noel Johnson      create new exhibits; email to LK re: Exhibit M.           1.7         1.7 $400.00
 4/9/2019 Kaylan Phillips   C with NHJ re: arguments                                  0.2           0 $400.00         $80.00        $0.00


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                            Proof New Complaint; incorporate KLP typos
                            changes; upload docs and transmit to LK for                                $440.00     $440.00
4/10/2019 Noel Johnson      filing                                             1.1      1.1 $400.00
                            Civil cover sheet and corporate disclosure
                                                                                                        $80.00      $80.00
4/10/2019 Noel Johnson      statement; research re: summonses                  0.2      0.2 $400.00
                            Research re: Defendant Marks'
                            position/duties; C with KLP re: same; PC with                              $440.00     $440.00
4/10/2019 Noel Johnson      LK re: same                                        1.1      1.1 $400.00
                            Finish exhibits for New Complaint; C with KLP
                                                                                                       $320.00     $320.00
4/10/2019 Noel Johnson      re: needs                                          0.8      0.8 $400.00
4/10/2019 Kaylan Phillips   Review complaint                                     4        2 $400.00   $1,600.00    $800.00
                            Download initial case filings/exhibits; email to
                                                                                                       $120.00     $120.00
4/15/2019 Noel Johnson      LK re: service; send exhibits to LC                0.3      0.3 $400.00
4/15/2019 Kaylan Phillips   C with NHJ re: status                              0.2        0 $400.00     $80.00       $0.00
4/24/2019 Noel Johnson      Special Admission forms; file same                 0.7      0.7 $400.00    $280.00     $280.00
4/29/2019 Noel Johnson      Emails re: service/motions to come                 0.1      0.1 $400.00     $40.00      $40.00
 5/2/2019 Noel Johnson      PC with LK re: service matters                     0.3      0.3 $400.00    $120.00     $120.00
 5/3/2021 Thomas Livechhi   proof read documents from Kaylan Phillips            1        0 $400.00    $400.00       $0.00
                            ECF notices re: appearances and MTD; review
                                                                                                       $120.00     $120.00
 5/9/2019 Noel Johnson      MTD; email to team                                 0.3      0.3 $400.00
5/14/2019 Noel Johnson      Review local rules re: motion practice             0.1      0.1 $400.00      $40.00      $40.00
5/28/2019 Noel Johnson      Work on response to motion to dismiss              1.1      1.1 $400.00    $440.00     $440.00
5/29/2019 Noel Johnson      Work on response to motion to dismiss              2.7      2.7 $400.00   $1,080.00   $1,080.00
 6/3/2019 Kaylan Phillips   C with NHJ. Review portion of briefing.            0.2      0.2 $400.00      $80.00      $80.00
 6/3/2019 Noel Johnson      Work on response to motion to dismiss              5.7      5.7 $400.00   $2,280.00   $2,280.00
                            Research, Work on portion of response to
                                                                                                       $880.00     $880.00
 6/4/2019 Kaylan Phillips   MTD                                                2.2      2.2 $400.00
                            Incorporate KLP edits to response to motion
                                                                                                       $200.00     $200.00
 6/4/2019 Noel Johnson      to dismiss; C with KLP re: same                    0.5      0.5 $400.00
                            Cutting words from response to motion to
                                                                                                      $1,080.00    $600.00
 6/4/2019 Noel Johnson      dismiss to conform to word limit                   2.7      1.5 $400.00
 6/4/2019 Noel Johnson      Work on response to motion to dismiss              1.5      1.5 $400.00    $600.00     $600.00
 6/5/2019 Kaylan Phillips   Review response to MTD                               1        1 $400.00    $400.00     $400.00




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                             Continue to cut words to comply with word
                                                                                                       $280.00     $280.00
  6/5/2019 Noel Johnson      limit                                             0.7      0.7 $400.00
                             Final proof read; file response to motion to
                                                                                                       $480.00     $480.00
  6/5/2019 Noel Johnson      dismiss; email to LK re: same                     1.2      1.2 $400.00
                             Table of contents and authorities for response
                                                                                                       $360.00     $360.00
  6/5/2019 Noel Johnson      to motion to dismiss                              0.9      0.9 $400.00
                             Incorporate JCA and LK edits to response to
                                                                                                       $560.00     $560.00
  6/5/2019 Noel Johnson      motion to dismiss; emails re: same                1.4      1.4 $400.00
 6/20/2019 Noel Johnson      Review Ds Reply brief; C with KLP re: same        0.6      0.6 $400.00    $240.00     $240.00
                             Review prior case management plan; email to
                                                                                                        $80.00      $80.00
 6/27/2019 Noel Johnson      opposing counsel re 26(f) conference              0.2      0.2 $400.00
 6/27/2019 Noel Johnson      PC with LK re: 26(f) conference                   0.2      0.2 $400.00     $80.00      $80.00
                             Review filings and orders re: case
                             management plan; review FRCP and local                                    $400.00     $400.00
 6/27/2019 Noel Johnson      rules; C with KLP re: same                          1        1 $400.00
  7/8/2019 Noel Johnson      Follow-up email to counsel re: 26(f)              0.1      0.1 $400.00     $40.00      $40.00
                             Email from counsel re: 26f; research filings
                                                                                                       $400.00     $400.00
 7/19/2019 Noel Johnson      and rules; draft response email                    1         1 $400.00
                             Rules re: 26(f) conference; email to opposing
                             counsel re: position on motion for initial case                            $80.00      $80.00
  9/3/2019 Noel Johnson      management conference                             0.2      0.2 $400.00

                             Draft motion for case management
                                                                                                      $1,040.00   $1,040.00
                             conference; emails with team; revise; create
  9/4/2019 Noel Johnson      exhibits; draft proposed order; file all          2.6      2.6 $400.00
                             Modify motion for initial case management
                                                                                                       $120.00     $120.00
 9/17/2019 Noel Johnson      conference into brief and file                    0.3      0.3 $400.00
                             Review opposition to motion for case
                             management conference and authorities cited                                $80.00      $80.00
 10/2/2019 Noel Johnson      therein.                                          0.2      0.2 $400.00
10/10/2019 Noel Johnson      Order re: CMC; emails to team re: same            0.1      0.1 $400.00     $40.00      $40.00
                             Review notice of supplemental authority. C
                                                                                                       $200.00     $200.00
10/28/2019 Kaylan Phillips   with NHJ re: same.                                0.5      0.5 $400.00




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                             Draft supplemental authority notice for JW v.                             $360.00     $360.00
10/28/2019 Noel Johnson      Lamone; C with KLP re: same; file same in ECF     0.9      0.9 $400.00
                             PC with LK re: motion to dismiss decision, next
                                                                                                       $120.00     $120.00
12/13/2019 Noel Johnson      steps                                             0.3      0.3 $400.00
                             Review order and memo on Motion to
                                                                                                       $240.00     $240.00
12/13/2019 Noel Johnson      Dismiss; email with team re: same                 0.6      0.6 $400.00
                             Emails re: motion for extension; review same;
                                                                                                        $40.00      $40.00
12/23/2019 Noel Johnson      email with LK re: same                            0.1      0.1 $400.00
                             Emails with LK re: Ds proposed motion to
                             certify/stay; review governing rule; review
                             prior communications/local rules re: 26(f)                                $280.00     $280.00
                             conference; email to counsel re: proposed
  1/3/2020 Noel Johnson      motions                                           0.7      0.7 $400.00
                             Emails re: Ds certification motion; joint case
                                                                                                        $40.00      $40.00
  1/3/2020 Noel Johnson      management conference                             0.1      0.1 $400.00
                             ECF notice; save; review of motion for
                             certificate of appealability and motion for                               $160.00     $160.00
  1/8/2020 Noel Johnson      stay; review rules and calendar response          0.4      0.4 $400.00
                             PC with LK re: motion to stay and motion re:
                                                                                                       $120.00     $120.00
 1/10/2020 Noel Johnson      appealability                                     0.3      0.3 $400.00
                             Legal research for response to motion for
                                                                                                      $1,200.00   $1,200.00
 1/13/2020 Noel Johnson      certificate of appealability                       3         3 $400.00
                                                                                                        $80.00      $80.00
 1/13/2020 Noel Johnson      Briefly review Answer; email to opp. re: 26(f)    0.2      0.2 $400.00
                             Work on response to motion for certificate of
                                                                                                       $800.00     $800.00
 1/14/2020 Noel Johnson      appealability                                      2         2 $400.00
                             PC with LK re: case management order,
                                                                                                        $80.00      $80.00
 1/15/2020 Noel Johnson      certification motion response                     0.2      0.2 $400.00
                             Work on response to motion for certificate of
                                                                                                      $1,640.00   $1,640.00
 1/15/2020 Noel Johnson      appealability                                     4.1      4.1 $400.00
 1/16/2020 Kaylan Phillips   Review response to motion to stay                 0.2      0.2 $400.00     $80.00      $80.00
 1/16/2020 Kaylan Phillips   Review response to motion to certify              0.8      0.8 $400.00    $320.00     $320.00




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                            Research; work on response to motion for
                                                                                                    $800.00   $800.00
1/16/2020 Noel Johnson      stay                                              2         2 $400.00
                            Work on response to motion for certificate of
                                                                                                    $880.00   $880.00
1/16/2020 Noel Johnson      appealability                                    2.2      2.2 $400.00
1/17/2020 Kaylan Phillips   C with NHJ re: motion to stay                    0.3      0.3 $400.00   $120.00   $120.00
1/17/2020 Noel Johnson      PC with LK re: motion responses                  0.1      0.1 $400.00    $40.00    $40.00
                            Review/incorporate KLP changes to response
                            to motion for stay; C with KLP re: same;                                $240.00   $240.00
1/17/2020 Noel Johnson      revise; email to LK                              0.6      0.6 $400.00
                            Compile appendix of unpublished decisions
                                                                                                    $120.00   $120.00
1/20/2020 Noel Johnson      for response to motion for stay                  0.3      0.3 $400.00
                            Review/incorporate LK changes to response to
                                                                                                     $80.00    $80.00
1/20/2020 Noel Johnson      motion for stay                                  0.2      0.2 $400.00
                            Review rules; compile appendix of
                            unpublished decisions for response to motion                            $360.00   $360.00
1/20/2020 Noel Johnson      for certification                                0.9      0.9 $400.00
                            Review/incorporate LK changes to response to
                                                                                                    $160.00   $160.00
1/20/2020 Noel Johnson      motion for certification                         0.4      0.4 $400.00
                            Compare changes in Answer and Amended
                                                                                                     $40.00    $40.00
 2/3/2020 Noel Johnson      Answer                                           0.1      0.1 $400.00
 2/4/2020 Noel Johnson      Review Ds reply brief re: stay motion            0.2      0.2 $400.00    $80.00    $80.00
                            Review Ds reply brief re: certificate of
                                                                                                     $80.00    $80.00
 2/4/2020 Noel Johnson      appealability                                    0.2      0.2 $400.00
2/10/2020 Kaylan Phillips   C with NHJ re: case needs                        0.3        0 $400.00   $120.00     $0.00
2/11/2020 Kaylan Phillips   Call to local counsel. Leave message.            0.1      0.1 $400.00    $40.00    $40.00
2/13/2020 Kaylan Phillips   Call to local counsel. Work on plan              0.4      0.4 $400.00   $160.00   $160.00
2/14/2020 Kaylan Phillips   Work on plan. C with NHJ                         0.4      0.4 $400.00   $160.00   $160.00
2/17/2020 Kaylan Phillips   Work on case needs                                 2        1 $400.00   $800.00   $400.00

                            Emails re: next steps. Call with NHJ re: same.                          $280.00   $280.00
2/18/2020 Kaylan Phillips   Work on special appearance. Do training.         0.7      0.7 $400.00
2/19/2020 Kaylan Phillips   Emails re: next steps.                           0.3      0.3 $400.00   $120.00   $120.00




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                            Emails re: next steps. Phone call re: case
                            management plan. Work on changes needed.                                  $680.00   $680.00
2/20/2020 Kaylan Phillips   Finalize. File.                                    1.7      1.7 $400.00
2/21/2020 Kaylan Phillips   Verification of bar status for PHV                 0.1      0.1 $400.00    $40.00    $40.00

                            Emails re: call with Chambers today. Call with
                                                                                                      $600.00   $600.00
                            JCA and LK re: same. Call with Chambers re:
2/25/2020 Kaylan Phillips   schedule. Summary email to NHJ.                    1.5      1.5 $400.00
                            C with NHJ re: calls yesterday and discovery
                                                                                                       $40.00    $40.00
2/26/2020 Kaylan Phillips   needed                                             0.1      0.1 $400.00
                            Review order on motion to certify; email re:
                                                                                                      $120.00   $120.00
 3/6/2020 Noel Johnson      same; PC with LK re: same                          0.3      0.3 $400.00
                            Work on initial disclosures; C with KLP re:
                                                                                                      $240.00   $240.00
3/10/2020 Noel Johnson      same                                               0.6      0.6 $400.00
3/11/2020 Noel Johnson      Review Case Management Plan                        0.2      0.2 $400.00    $80.00    $80.00
                            Update and proof Rule 26(a) disclosures;
                            emails with LK re: same; PC with LK; revise;                              $200.00   $200.00
3/18/2020 Noel Johnson      email to counsel                                   0.5      0.5 $400.00
                            Prep topics for discovery requests; outline
                            same; draft and revise Rogs, RFPs, and RFAs                               $320.00   $320.00
3/30/2020 Noel Johnson      for Def. Boockvar                                  0.8      0.8 $400.00
                            Review/compare filed Answers; review files
                                                                                                      $200.00   $200.00
3/30/2020 Noel Johnson      received in Metcalf open records litigation;       0.5      0.5 $400.00
                            Continue drafting discovery requests for Def.
                                                                                                      $720.00   $720.00
3/31/2020 Noel Johnson      Boockvar                                           1.8      1.8 $400.00
                            PC with LK re: draft interrogatories for
                                                                                                      $200.00   $200.00
 4/3/2020 Noel Johnson      Boockvar                                           0.5      0.5 $400.00
                            Proof/revise RFPs, RFAs, and Rogs for Def.
                            Boockvar; email to LK re: same; email to JCA;
                                                                                                      $400.00   $400.00
                            revise and finalize, serve on Defendants'
4/20/2020 Noel Johnson      counsel                                              1        1 $400.00
4/28/2020 Noel Johnson      Email to counsel re: discovery extensions          0.1      0.1 $400.00    $40.00    $40.00
                            Review edits to joint objections; email to local
                                                                                                       $40.00    $40.00
 5/1/2020 Noel Johnson      counsel re: filing                                 0.1      0.1 $400.00



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 5/1/2020 Noel Johnson      Review draft stipulation re: discovery            0.1      0.1 $400.00     $40.00     $40.00
6/18/2020 Noel Johnson      Emails with LK re: discovery plans/depo           0.3      0.3 $400.00    $120.00    $120.00
6/29/2020 Noel Johnson      Review draft motion to enlarge deadlines          0.1      0.1 $400.00     $40.00     $40.00
                            PCs with LK re: Ds request for discovery
                                                                                                       $80.00     $80.00
6/29/2020 Noel Johnson      extension; email to counsel re: same              0.2      0.2 $400.00
7/14/2020 Kaylan Phillips   C with NHJ re discovery                           0.6      0.6 $400.00    $240.00    $240.00
                            Research re: 30(b)(6) depositions; PC with KLP
                                                                                                      $680.00    $680.00
7/14/2020 Noel Johnson      re: same and discovery responses                  1.7      1.7 $400.00
                            Review discovery responses and documents;
                                                                                                      $440.00    $440.00
7/14/2020 Noel Johnson      PC with LC                                        1.1      1.1 $400.00
7/14/2020 Noel Johnson      Call with LK re: discovery                        0.4      0.4 $400.00    $160.00    $160.00
7/15/2020 Noel Johnson      Review case law re: interrogatories               1.3      1.3 $400.00    $520.00    $520.00
                            Review discovery responses; outline letter to
                                                                                                      $600.00    $200.00
7/15/2020 Noel Johnson      counsel; research re: same                        1.5      0.5 $400.00
                            More legal research re: discovery for letter to
                                                                                                     $1,120.00     $0.00
7/16/2020 Noel Johnson      counsel; continue outlining same                  2.8        0 $400.00
                            Review SB notes on discovery; PC with SB re:
                                                                                                      $200.00      $0.00
7/16/2020 Noel Johnson      same                                              0.5        0 $400.00
7/17/2020 Noel Johnson      PC with LK re: discovery responses; depos         0.5      0.5 $400.00    $200.00    $200.00
                            Outline/draft Rule 30(b)(6) depo topics for
                                                                                                      $320.00    $320.00
7/20/2020 Noel Johnson      DOS; research and review r                        0.8      0.8 $400.00
                            Continue research and draft topics for Rule
                                                                                                       $40.00     $40.00
7/21/2020 Noel Johnson      30(b)(6) depo of DOS                              0.1      0.1 $400.00
                            Continue research and draft topics for Rule
                                                                                                      $800.00    $800.00
7/22/2020 Noel Johnson      30(b)(6) depo of DOS; PC with LC re: same          2         2 $400.00
                            Revise proposed 30b6 depo topics; email with
                                                                                                       $80.00     $80.00
7/30/2020 Noel Johnson      LK re: same                                       0.2      0.2 $400.00
8/25/2020 Noel Johnson      Work on 30b6 deposition outline                   0.9      0.9 $400.00    $360.00    $360.00
8/26/2020 Noel Johnson      Work on 30b6 deposition outline                   0.1      0.1 $400.00     $40.00     $40.00
8/27/2020 Noel Johnson      Work on 30b6 deposition outline                   0.1      0.1 $400.00     $40.00     $40.00
8/31/2020 Noel Johnson      Work on 30b6 deposition outline                   0.3      0.3 $400.00    $120.00    $120.00
 9/1/2020 Noel Johnson      Work on 30b6 deposition outline                   0.1      0.1 $400.00     $40.00     $40.00
                            Review Ds request for first production of
                                                                                                       $80.00     $80.00
 9/8/2020 Noel Johnson      documents and items referenced there in           0.2      0.2 $400.00



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  9/8/2020 Noel Johnson   Review objections/response re: 30b6 topics        0.1      0.1 $400.00     $40.00      $40.00
  9/8/2020 Noel Johnson   Work on 30b6 deposition outline                   0.1      0.1 $400.00     $40.00      $40.00
 9/10/2020 Noel Johnson   Work on 30b6 deposition outline                   0.1      0.1 $400.00     $40.00      $40.00
 9/16/2020 Noel Johnson   Work on 30b6 depo outline/questions                 1        1 $400.00    $400.00     $400.00
 9/17/2020 Noel Johnson   Work on 30b6 depo outline/questions               1.3      1.3 $400.00    $520.00     $520.00
 9/18/2020 Noel Johnson   Work on 30b6 depo outline/questions               0.1      0.1 $400.00     $40.00      $40.00
                          PC with Donna Walsh re: continuance; PC with
                                                                                                     $80.00      $80.00
 9/23/2020 Noel Johnson   LK re: same                                       0.2      0.2 $400.00
                          Draft discovery extension stipulation; email to
                                                                                                    $200.00     $200.00
 9/29/2020 Noel Johnson   counsel                                           0.5      0.5 $400.00
 10/1/2020 Noel Johnson   Review/sign discovery stipulation                 0.1      0.1 $400.00     $40.00      $40.00
                                                                                                    $600.00     $600.00
10/22/2020 Noel Johnson   Work on responses to RFPs; research for same      1.5      1.5 $400.00
                                                                                                    $800.00     $800.00
10/23/2020 Noel Johnson   Work on responses to RFPs; research for same       2         2 $400.00
                          Work on responses to RFPs; research for
                          same; compile responsive docs; PCs with KLP;                             $1,400.00   $1,400.00
10/26/2020 Noel Johnson   PC with LK re: same; PC with LC                   3.5      3.5 $400.00
                          Work on responses to RFPs; research for
                          same; compile responsive docs; travel to
                                                                                                    $120.00     $120.00
                          office to scan documents; PC with SP re:
10/27/2020 Noel Johnson   documents                                         0.3      0.3 $400.00
                          Office visit to scan discovery documents;
                                                                                                    $920.00     $920.00
 11/2/2020 Noel Johnson   review same                                       2.3      2.3 $400.00
                          Continue drafting objections and responses to
                                                                                                    $560.00     $560.00
 11/3/2020 Noel Johnson   RFP; compile documents for same                   1.4      1.4 $400.00
                          Review potential responsive discovery
                                                                                                    $240.00     $240.00
 11/3/2020 Noel Johnson   documents                                         0.6      0.6 $400.00

                          Review potential discovery production; revise                            $1,520.00   $1,520.00
 11/5/2020 Noel Johnson   objections and responses; PC with KLP             3.8      3.8 $400.00
                          Review discovery docs for deposition prep;
                                                                                                    $360.00     $360.00
 11/6/2020 Noel Johnson   revise depo outline                               0.9      0.9 $400.00




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                             Review potential discovery production; PC
                                                                                                        $400.00     $400.00
 11/6/2020 Noel Johnson      with KLP                                             1        1 $400.00
 11/7/2020 Kaylan Phillips   Review discovery                                   0.4      0.4 $400.00    $160.00     $160.00
 11/8/2020 Kaylan Phillips   Review discovery                                   0.1      0.1 $400.00      $40.00      $40.00
 11/9/2020 Kaylan Phillips   Review discovery. C with NHJ re: same.             2.5      2.5 $400.00   $1,000.00   $1,000.00
                             Review KLP edits to discovery response; PC
                                                                                                       $2,000.00   $2,000.00
 11/9/2020 Noel Johnson      with KLP                                             5        5 $400.00
11/10/2020 Kaylan Phillips   C with NHJ re: discovery                           0.1      0.1 $400.00     $40.00      $40.00
                             Final revisions to responses to RFP; final proof
                             of same and responsive documents; revise                                  $1,120.00   $1,120.00
11/10/2020 Noel Johnson      same; upload and serve same                        2.8      2.8 $400.00

                             Troubleshoot bates numbering issue; PC with                                $200.00       $0.00
11/10/2020 Noel Johnson      SLP re: needs for rescan of certain discovery      0.5        0 $400.00
                             Emails with SLP re: needed scans for supp. doc
                             production; prep and proof same; upload to                                 $240.00       $0.00
11/11/2020 Noel Johnson      hightail                                           0.6        0 $400.00
                             Continue working on 30b6 depo outline;
                                                                                                       $1,120.00   $1,120.00
11/16/2020 Noel Johnson      review documents for same; PC with KLP             2.8      2.8 $400.00
                             Draft 30b6 deposition notice; PC with KLP re:
                                                                                                        $200.00     $200.00
11/16/2020 Noel Johnson      same                                               0.5      0.5 $400.00
                             Continue working on 30b6 depo outline;
                                                                                                       $1,080.00   $1,080.00
11/17/2020 Noel Johnson      review documents for same                          2.7      2.7 $400.00
                             Continue working on 30b6 depo outline;
                                                                                                       $1,040.00   $1,040.00
11/18/2020 Noel Johnson      review documents for same                          2.6      2.6 $400.00
                             Continue working on 30b6 depo outline;
                                                                                                        $480.00     $480.00
11/19/2020 Noel Johnson      review documents for same                          1.2      1.2 $400.00
                             C with NHJ re: deposition plan. Email with
                                                                                                        $120.00     $120.00
11/23/2020 Kaylan Phillips   documents to review.                               0.3      0.3 $400.00
11/23/2020 Noel Johnson      Emails with Atkinson-Baker re: deposition          0.2      0.2 $400.00     $80.00      $80.00
                             Compile exhibits for 30b6; PC with KLP re:
                                                                                                         $80.00      $80.00
11/23/2020 Noel Johnson      same and depo                                      0.2      0.2 $400.00
                             C with NHJ re: discovery and next steps.
                                                                                                        $200.00     $200.00
11/24/2020 Kaylan Phillips   Emails re: same.                                   0.5      0.5 $400.00



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                             Draft email to counsel re: proposed discovery                            $80.00    $80.00
11/24/2020 Noel Johnson      extension; emails with KLP re: same              0.2      0.2 $400.00
                             PC with counsel re: discovery extension; email
                                                                                                     $120.00   $120.00
11/24/2020 Noel Johnson      to team/client re: same                          0.3      0.3 $400.00
                             C with NHJ re: call from opposing counsel and
                                                                                                     $200.00   $200.00
11/25/2020 Kaylan Phillips   motion for extension of time.                    0.5      0.5 $400.00
11/25/2020 Noel Johnson      PC with counsel re: discovery extension          0.1      0.1 $400.00    $40.00    $40.00
                             Compile exhibits for 30b6 deposition; revise
                                                                                                     $560.00   $560.00
11/25/2020 Noel Johnson      depo outline                                     1.4      1.4 $400.00
                             Emails with counsel and team re: discovery
                                                                                                      $40.00    $40.00
11/25/2020 Noel Johnson      issues                                           0.1      0.1 $400.00
11/27/2020 Kaylan Phillips   C with NHJ. Review draft response.               0.5      0.5 $400.00   $200.00   $200.00
                             Draft response to motion for enlargement of
                                                                                                     $240.00   $240.00
11/27/2020 Noel Johnson      deadlines                                        0.6      0.6 $400.00
                             Continue compiling exhibits for 30b6
                             deposition of PA State Department; continue                             $440.00   $440.00
11/29/2020 Noel Johnson      prepping for same                                1.1      1.1 $400.00
11/30/2020 Kaylan Phillips   Deposition prep with Noel                          2      1.7 $400.00   $800.00   $680.00
11/30/2020 Noel Johnson      Zoom call with KLP re: deposition prep           1.7      1.7 $400.00   $680.00   $680.00
                             Continue compiling exhibits for 30b6
                             deposition of PA State Department; continue                             $120.00   $120.00
11/30/2020 Noel Johnson      prepping for same                                0.3      0.3 $400.00
 12/1/2020 Kaylan Phillips   Deposition prep with Noel                        0.5      0.5 $400.00   $200.00   $200.00
                             Prep/practice for Rule 30(b)(6) deposition of
                                                                                                     $400.00   $400.00
 12/1/2020 Noel Johnson      PA State Department                                1        1 $400.00
 12/1/2020 Noel Johnson      PC with KLP re: 3rd case management order        0.1      0.1 $400.00    $40.00    $40.00
 12/1/2020 Noel Johnson      Emails and PCs re: rescheduling deposition       0.2      0.2 $400.00    $80.00    $80.00
                             Revise 30b6 outline; create new exhibit;
                                                                                                     $280.00   $280.00
  1/4/2021 Noel Johnson      upload to LK; emails/PC with LK re: same         0.7      0.7 $400.00
  1/4/2021 Noel Johnson      Emails to schedule 30b6 deposition               0.2      0.2 $400.00    $80.00    $80.00
  1/6/2021 Noel Johnson      PC with LK re: 30b6 depo prep                    1.1      1.1 $400.00   $440.00   $440.00
  1/8/2021 Noel Johnson      Email to JCA/LK re: 30b6 depo prep               0.1      0.1 $400.00    $40.00    $40.00
  1/8/2021 Noel Johnson      PC with LK re: depo prep                         0.7      0.7 $400.00   $280.00   $280.00


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1/11/2021 Noel Johnson      PC with JCA/LC re: deposition prep               1.4      1.4 $400.00    $560.00     $560.00
1/11/2021 Noel Johnson      Emails re: 30b6 depositions                      0.1      0.1 $400.00     $40.00      $40.00
                            Revise 30b6 deposition exhibit list; emails
                                                                                                      $80.00      $80.00
1/12/2021 Noel Johnson      with LK re: same                                 0.2      0.2 $400.00
1/12/2021 Noel Johnson      PC with LK re: 30b6 depo prep                    1.5      1.5 $400.00    $600.00     $600.00
                                                                                                     $400.00     $400.00
1/13/2021 Kaylan Phillips   C with NHJ re: depos (twice). Emails re: same.    1         1 $400.00
                            PC with LK re: discovery extension and 30b6
                                                                                                      $80.00      $80.00
1/13/2021 Noel Johnson      scheduling                                       0.2      0.2 $400.00
                            PC with KLP re: discovery extension and 30b6
                                                                                                      $40.00      $40.00
1/13/2021 Noel Johnson      scheduling                                       0.1      0.1 $400.00
                            PC and emails with opposing counsel re:
                                                                                                      $80.00      $80.00
1/13/2021 Noel Johnson      discovery extension and 30b6 scheduling          0.2      0.2 $400.00
1/13/2021 Noel Johnson      Finalize exhibits for 30b6 depo of DOS           0.6      0.6 $400.00    $240.00     $240.00
                                                                                                     $200.00     $200.00
 2/4/2021 Kaylan Phillips   Briefly review discovery. C with NHJ re: same.   0.5      0.5 $400.00
                            PC with LK re: Defs' second production of
                                                                                                      $80.00      $80.00
 2/4/2021 Noel Johnson      documents                                        0.2      0.2 $400.00
                            Review Defs. second production of
                                                                                                    $1,080.00   $1,080.00
 2/4/2021 Noel Johnson      documents; create log of same                    2.7      2.7 $400.00
                            PC with KLP re: second production of
                                                                                                      $80.00      $80.00
 2/4/2021 Noel Johnson      documents/deposition                             0.2      0.2 $400.00
                            PC with KLP re: second document production
                                                                                                     $120.00     $120.00
 2/5/2021 Noel Johnson      and deposition prep                              0.3      0.3 $400.00
 2/9/2021 Kaylan Phillips   C with NHJ re discovery. Emails re same.         0.5      0.5 $400.00    $200.00     $200.00
                            Work on JCA special admission form; emails
                                                                                                     $120.00     $120.00
 2/9/2021 Noel Johnson      re: Hersh subpoena and depo                      0.3      0.3 $400.00
                            Research re: reasonable notice requirement
                                                                                                      $40.00      $40.00
 2/9/2021 Noel Johnson      for deposition subpoena                          0.1      0.1 $400.00
                            Review FRCP; prep subpoena for Eitan Hersh;
                                                                                                      $80.00      $80.00
 2/9/2021 Noel Johnson      emails                                           0.2      0.2 $400.00
                            PC with LK re: additional deposition/enlarging
                                                                                                      $40.00      $40.00
 2/9/2021 Noel Johnson      discovery                                        0.1      0.1 $400.00




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                            PC with KLP re: additional
                                                                                                       $40.00      $40.00
 2/9/2021 Noel Johnson      deposition/enlarging discovery deadline           0.1      0.1 $400.00
                            Work on personal service. Find process server.
                                                                                                      $640.00     $640.00
2/10/2021 Kaylan Phillips   Calls re: same.                                   1.6      1.6 $400.00
                            Emails re: Hersh subpoena/call from counsel;
                                                                                                       $80.00      $80.00
2/10/2021 Noel Johnson      schedule deposition of same                       0.2      0.2 $400.00
                            PC with LK re: Hersh subpoena, cover letter,
                                                                                                      $120.00     $120.00
2/10/2021 Noel Johnson      and notice of deposition                          0.3      0.3 $400.00
2/10/2021 Noel Johnson      PC with LK for 30b6 depo prep                     1.9      1.9 $400.00    $760.00     $760.00
                            Revise Hersh subpoena, draft cover letter and
                            depo notice for same; PC with LK re: same; PC                             $280.00     $280.00
2/10/2021 Noel Johnson      with KLP re: service                              0.7      0.7 $400.00
                            Revise JCA Special admission form; email to
                                                                                                       $80.00       $0.00
2/10/2021 Noel Johnson      him for review and signature                      0.2        0 $400.00
2/11/2021 Kaylan Phillips   Emails re discovery documents                     0.2      0.2 $400.00     $80.00      $80.00
2/11/2021 Kaylan Phillips   Work on personal service. Calls re: same.         0.6      0.6 $400.00    $240.00     $240.00
                            Review LK's latest 30b6 depo outline; PC with
                                                                                                      $120.00     $120.00
2/11/2021 Noel Johnson      LK re: same                                       0.3      0.3 $400.00
                            PC with KLP re: service of Hersh subpoena and
                                                                                                       $40.00      $40.00
2/11/2021 Noel Johnson      related matters                                   0.1      0.1 $400.00
                            Revise 30b6 deposition exhibits; PC with LK re:
                                                                                                       $80.00      $80.00
2/11/2021 Noel Johnson      same                                              0.2      0.2 $400.00
                            Emails and calls re discovery documents.
                                                                                                      $200.00     $200.00
2/12/2021 Kaylan Phillips   Briefly review same.                              0.5      0.5 $400.00
                            Attend and handle exhibits for 30b6
                                                                                                     $3,000.00   $3,000.00
2/12/2021 Noel Johnson      deposition of DOS                                 7.5      7.5 $400.00
                            Review and prep exhibits for 30b6 deposition
                                                                                                      $360.00     $360.00
2/12/2021 Noel Johnson      of DOS; PC with LK re: same                       0.9      0.9 $400.00
2/15/2021 Kaylan Phillips   Emails re: depositions. Calls re: same.           0.5      0.5 $400.00    $200.00     $200.00
                            Review draft Hersh verification; PC with LK re:
                                                                                                       $80.00      $80.00
2/15/2021 Noel Johnson      same                                              0.2      0.2 $400.00
2/15/2021 Noel Johnson      Upload exhibits for LK for court reporter         0.1      0.1 $400.00     $40.00      $40.00
                            PC with LK re: depo prep of PILF 30b6; emails
                                                                                                       $40.00      $40.00
2/15/2021 Noel Johnson      with team re: same                                0.1      0.1 $400.00



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2/15/2021 Noel Johnson      PC with LK re: Hersh affidavit                     0.2      0.2 $400.00     $80.00      $80.00
                                                                                                       $120.00     $120.00
2/16/2021 Kaylan Phillips   Emails re: depos today. C with NHJ re: same.       0.3      0.3 $400.00
2/16/2021 Noel Johnson      Defend deposition of Churchwell                      2        2 $400.00    $800.00     $800.00
2/16/2021 Noel Johnson      Defend 30b6 deposition of Foundation               4.4      4.4 $400.00   $1,760.00   $1,760.00
2/16/2021 Noel Johnson      Prep for Foundation 30b6 deposition                0.3      0.3 $400.00    $120.00     $120.00
2/17/2021 Kaylan Phillips   Emails re: discovery. C with NHJ re: same.         0.3      0.3 $400.00    $120.00     $120.00
                            Legal research re: attorney client privilege and
                                                                                                      $1,040.00   $1,040.00
2/17/2021 Noel Johnson      work product doctrine                              2.6      2.6 $400.00
                            Work on amended Rule 26(a) disclosures;
                                                                                                        $80.00      $80.00
2/17/2021 Noel Johnson      emails; PC with KLP; email to counsel              0.2      0.2 $400.00
                            PC with LK re: motion to withdraw
                                                                                                        $40.00       $0.00
2/17/2021 Noel Johnson      appearance of JCA                                  0.1        0 $400.00
                            Legal research re: waiver of A/C privilege and
                                                                                                       $360.00     $360.00
2/19/2021 Noel Johnson      work product doctrine                              0.9      0.9 $400.00
                            PC with LK re: summary judgment motion
                                                                                                        $80.00      $80.00
3/23/2021 Noel Johnson      plans                                              0.2      0.2 $400.00
3/24/2021 Noel Johnson      Work on summary judgment memo                      0.6      0.6 $400.00    $240.00     $240.00
                            Prepare and organize drafting materials and
                            research for summary judgment motion;                                      $120.00     $120.00
3/24/2021 Noel Johnson      create shell for same                              0.3      0.3 $400.00
                            Work on summary judgment memo; legal
                                                                                                      $1,400.00   $1,400.00
3/25/2021 Noel Johnson      research for same                                  3.5      3.5 $400.00
                            Work on summary judgment memo; legal
                                                                                                       $760.00     $760.00
3/26/2021 Noel Johnson      research for same                                  1.9      1.9 $400.00
                            Work on summary judgment memo; legal
                                                                                                       $760.00     $760.00
3/29/2021 Noel Johnson      research for same                                  1.9      1.9 $400.00
3/30/2021 Noel Johnson      Work on summary judgment memo                      0.1      0.1 $400.00     $40.00      $40.00
                            Review Marks deposition transcript for
                            summary judgment filings; highlight/take                                   $960.00     $960.00
3/31/2021 Noel Johnson      notes for same                                     2.4      2.4 $400.00
                            Work on statement of material facts for
                                                                                                       $160.00     $160.00
3/31/2021 Noel Johnson      summary judgment motion                            0.4      0.4 $400.00




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                         Work on summary judgment memo; legal
                                                                                                  $960.00     $960.00
3/31/2021 Noel Johnson   research re: same                                2.4      2.4 $400.00
                         Review Marks deposition transcript for
                         summary judgment filings; highlight/take                                $1,480.00   $1,480.00
 4/1/2021 Noel Johnson   notes for same                                   3.7      3.7 $400.00
                                                                                                  $520.00     $520.00
 4/2/2021 Noel Johnson   Legal research for summary judgment memo         1.3      1.3 $400.00
                         Work on statement of facts for summary
                         judgment motion; compile material for                                    $400.00     $400.00
 4/2/2021 Noel Johnson   citations                                         1         1 $400.00
                         Work on supporting affidavit for summary
                                                                                                  $880.00     $880.00
 4/5/2021 Noel Johnson   judgment motion; review exhibits for same        2.2      2.2 $400.00
                         Work on statement of facts for summary
                         judgment motion; compile material for                                    $800.00     $800.00
 4/5/2021 Noel Johnson   citations                                         2         2 $400.00
                         Work on supporting affidavit for summary
                                                                                                   $40.00      $40.00
 4/6/2021 Noel Johnson   judgment motion; review exhibits for same        0.1      0.1 $400.00
                         Work on statement of facts for summary
                         judgment motion; compile material for                                     $40.00      $40.00
 4/6/2021 Noel Johnson   citations                                        0.1      0.1 $400.00
                         Work on third supporting affidavit for
                                                                                                   $80.00      $80.00
 4/8/2021 Noel Johnson   summary judgment motion                          0.2      0.2 $400.00
                         Work on second supporting affidavit for
                                                                                                   $80.00      $80.00
 4/8/2021 Noel Johnson   summary judgment motion                          0.2      0.2 $400.00
                         Work on statement of facts for summary
                         judgment motion; compile material for                                   $1,720.00   $1,720.00
 4/8/2021 Noel Johnson   citations                                        4.3      4.3 $400.00
                         Compile exhibits for supporting affidavits for
                                                                                                   $40.00      $40.00
 4/9/2021 Noel Johnson   summary judgment motion                          0.1      0.1 $400.00
                         Revise summary judgment memo to comply
                                                                                                  $240.00     $240.00
 4/9/2021 Noel Johnson   with word county                                 0.6      0.6 $400.00
                                                                                                 $1,400.00   $1,400.00
 4/9/2021 Noel Johnson   Continue work on summary judgment memo           3.5      3.5 $400.00




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                            Work on exhibits for second supporting
                                                                                                      $40.00      $40.00
 4/9/2021 Noel Johnson      affidavit for summary judgment motion            0.1      0.1 $400.00
                            Work on statement of facts for summary
                                                                                                     $120.00     $120.00
 4/9/2021 Noel Johnson      judgment motion                                  0.3      0.3 $400.00
4/12/2021 Noel Johnson      Emails re: draft summary judgment filings        0.1      0.1 $400.00     $40.00      $40.00
                            Revise summary judgment memo; revise
                                                                                                     $480.00     $480.00
4/12/2021 Noel Johnson      supporting affidavits                            1.2      1.2 $400.00
                            Compile exhibits for supporting affidavits for
                            summary judgment motion; revise statement                                $760.00     $760.00
4/12/2021 Noel Johnson      of facts                                         1.9      1.9 $400.00
                            C with LK re: SJ. Review docket. Work on
                                                                                                     $600.00     $600.00
4/15/2021 Kaylan Phillips   motion for extension of time.                    1.5      1.5 $400.00
4/20/2021 Kaylan Phillips   Review documents produced in this case.          2.2      2.2 $400.00    $880.00     $880.00
4/21/2021 Kaylan Phillips   Review documents produced in this case.          0.1      0.1 $400.00      $40.00      $40.00
4/23/2021 Kaylan Phillips   Work on SJ brief                                 3.1      3.1 $400.00   $1,240.00   $1,240.00
4/23/2021 Kaylan Phillips   Review documents produced in this case.          1.6      1.6 $400.00    $640.00     $640.00
4/26/2021 Kaylan Phillips   Work on SJ brief. Emails re: same.                 3        3 $400.00   $1,200.00   $1,200.00
4/27/2021 Kaylan Phillips   Work on SJ brief. Emails re: same.                 3        3 $400.00   $1,200.00   $1,200.00
                            Work on SJ brief. Summary and structure.
                                                                                                     $840.00     $840.00
4/27/2021 Kaylan Phillips   Review 30(b)(6) depo.                            2.1      2.1 $400.00
4/28/2021 Kaylan Phillips   Continue working on SJ brief                       4        4 $400.00   $1,600.00   $1,600.00
                            Work on SJ brief. Summary and structure.
                            Review 30(b)(6) depo. C with colleagues re:                              $880.00     $880.00
4/28/2021 Kaylan Phillips   same.                                            2.2      2.2 $400.00
4/29/2021 Kaylan Phillips   Work on SJ memo.                                 0.9      0.9 $400.00    $360.00     $360.00
4/29/2021 Kaylan Phillips   Work on statement of facts and affidavit         4.5      4.5 $400.00   $1,800.00   $1,800.00
                            Work on brief. Implement edits from co-
                                                                                                    $1,400.00   $1,400.00
4/30/2021 Kaylan Phillips   counsel. Cut words as needed.                    3.5      3.5 $400.00
4/30/2021 Kaylan Phillips   Work on statement of facts and affidavit           3        3 $400.00   $1,200.00   $1,200.00
                            Review all documents. Prepare for filing and
                                                                                                    $1,000.00   $1,000.00
 5/3/2021 Kaylan Phillips   file.                                            2.5      2.5 $400.00
 5/3/2021 Kaylan Phillips   Work on statement of facts. Finalize.              2        2 $400.00    $800.00     $800.00
                            Work on motion for summary judgment and
                                                                                                     $200.00     $200.00
 5/3/2021 Kaylan Phillips   proposed order. Finalize.                        0.5      0.5 $400.00



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 5/3/2021 Kaylan Phillips   Work on affidavit. Finalize.                       1.2      1.2 $400.00    $480.00     $480.00
 5/3/2021 Kaylan Phillips   Work on SJ documents. Emails re: same.             1.5      1.5 $400.00    $600.00     $600.00
 5/4/2021 Kaylan Phillips   Emails re:SJ documents                             0.2      0.2 $400.00     $80.00      $80.00
5/11/2021 Kaylan Phillips   Email to KK re: research needed.                   0.5        0 $400.00    $200.00       $0.00
5/12/2021 Kaylan Phillips   Email re: opposition                               0.1      0.1 $400.00     $40.00      $40.00
                                                                                                       $160.00     $160.00
5/17/2021 Kaylan Phillips   Email re: extension to respond. Review same.       0.4      0.4 $400.00
5/17/2021 Kaylan Phillips   Call with LK and KK re: response                   0.5        0 $400.00    $200.00       $0.00
                            Email re: order on extension to respond.
                                                                                                       $160.00     $160.00
5/18/2021 Kaylan Phillips   Review same.                                       0.4      0.4 $400.00
                            Review filed versions of Foundation and
                                                                                                       $320.00     $320.00
 6/1/2021 Noel Johnson      Defendants' summary judgment memos                 0.8      0.8 $400.00
 6/3/2021 Noel Johnson      Organize case folder (n/c)                         0.1        0 $400.00     $40.00       $0.00
                            Review local rules on page numbers. Check in
                                                                                                       $400.00     $400.00
 6/7/2021 Kaylan Phillips   with team. C with NHJ re: arguments                 1         1 $400.00
                            Review local rules re: response to statement
                            of facts; review Defs. statement of facts and
                                                                                                       $480.00     $480.00
                            record citations; begin drafting response; legal
 6/7/2021 Noel Johnson      research for same                                  1.2      1.2 $400.00
                            PC with KLP re: response to statement of facts
                                                                                                       $160.00     $160.00
 6/7/2021 Noel Johnson      and arguments for response                         0.4      0.4 $400.00
                            Legal research re: relief for summary
                                                                                                       $120.00     $120.00
 6/7/2021 Noel Johnson      judgment response; email to KLP                    0.3      0.3 $400.00
 6/8/2021 Kaylan Phillips   Work on SJ Response                                2.5      2.5 $400.00   $1,000.00   $1,000.00
 6/8/2021 Kaylan Phillips   Briefly review Ken's section                       0.1      0.1 $400.00      $40.00      $40.00
                            Continue drafting response to Defs.'
                            statement of facts for summary judgment                                    $520.00     $520.00
 6/8/2021 Noel Johnson      motion                                             1.3      1.3 $400.00
                            Legal research re: complete disclosure of
                                                                                                       $160.00     $160.00
 6/8/2021 Noel Johnson      documents defense                                  0.4      0.4 $400.00
                            Legal research re: FOIA standards for cut-off
                                                                                                       $360.00     $360.00
 6/8/2021 Noel Johnson      date                                               0.9      0.9 $400.00
                            Legal research re: attorneys' fees standard
                                                                                                       $280.00     $280.00
 6/8/2021 Noel Johnson      under FOIA                                         0.7      0.7 $400.00



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 6/9/2021 Kaylan Phillips   Work on SJ Response                               6         6 $400.00   $2,400.00   $2,400.00
                            Continue drafting response to Defs.'
                            statement of facts for summary judgment                                 $1,440.00   $1,440.00
 6/9/2021 Noel Johnson      motion                                           3.6      3.6 $400.00

                            PC with KLP re: status of summary judgment                               $160.00     $160.00
 6/9/2021 Noel Johnson      response and arguments for same                  0.4      0.4 $400.00
6/10/2021 Kaylan Phillips   Work on SJ Response. C with NHJ re: same.        5.9      5.9 $400.00   $2,360.00   $2,360.00
                            Work on permanent injunction section of
                                                                                                    $1,040.00      $0.00
6/10/2021 Noel Johnson      summary judgment response                        2.6        0 $400.00
                            PC with KLP re: response to statement of facts
                                                                                                     $200.00     $200.00
6/10/2021 Noel Johnson      and summary judgment response                    0.5      0.5 $400.00
                                                                                                     $200.00       $0.00
6/10/2021 Noel Johnson      Legal research re: permanent injunctive relief   0.5        0 $400.00
6/10/2021 Noel Johnson      Legal research re: declaratory relief            0.3      0.3 $400.00    $120.00     $120.00
6/11/2021 Kaylan Phillips   Work on SJ Response. C with NHJ re: same.        3.5      3.5 $400.00   $1,400.00   $1,400.00
                            Review draft response to summary judgment
                            motion; make edits/revise; PCs with KLP re:                             $2,200.00   $2,200.00
6/11/2021 Noel Johnson      same                                             5.5      5.5 $400.00
                            Review KLP edits to Response to Statement of
                                                                                                     $200.00     $200.00
6/11/2021 Noel Johnson      Facts; make revisions to same                    0.5      0.5 $400.00
                            Continue revising draft response to summary
                                                                                                    $3,720.00   $3,720.00
6/12/2021 Noel Johnson      judgment motion                                  9.3      9.3 $400.00
                            Review/incorporate KLP/LK edits to draft
                            response to summary judgment motion;
                                                                                                     $520.00     $520.00
                            revise same; emails with LK/KLP; email to JCA
6/13/2021 Noel Johnson      re: same                                         1.3      1.3 $400.00
6/14/2021 Kaylan Phillips   Work on statement of facts                         3        3 $400.00   $1,200.00   $1,200.00
6/14/2021 Kaylan Phillips   Finalize documents, prepare for filing. File.      1        1 $400.00    $400.00     $400.00
6/14/2021 Kaylan Phillips   Work on SJ Response. C with NHJ re: same.        2.4      2.4 $400.00    $960.00     $960.00
                            PC with KLP re: final draft summary judgment
                                                                                                      $40.00      $40.00
6/14/2021 Noel Johnson      response filings                                 0.1      0.1 $400.00
                            Revise response to statement of facts; emails
                                                                                                     $440.00     $440.00
6/14/2021 Noel Johnson      with LK/KLP re: same                             1.1      1.1 $400.00



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                            Draft table of contents and authority for
                                                                                                       $80.00      $80.00
6/14/2021 Noel Johnson      response to summary judgment memo                 0.2      0.2 $400.00
                            Cut words from summary judgment response
                                                                                                     $1,200.00   $1,200.00
6/14/2021 Noel Johnson      to comply with word limit                          3         3 $400.00
                            Review/incorporate JCA edits to summary
                            judgment response draft; make additional                                  $760.00     $760.00
6/14/2021 Noel Johnson      revisions to same; email to LK/KLP                1.9      1.9 $400.00
                            PC with LK re: summary judgment response
                                                                                                      $120.00     $120.00
6/14/2021 Noel Johnson      draft with team                                   0.3      0.3 $400.00
                            Emails re: summary judgment response draft
                                                                                                      $120.00     $120.00
6/14/2021 Noel Johnson      with team                                         0.3      0.3 $400.00
                            Review Defs. opposition to summary
                            judgment motion; create shell for reply brief;                           $1,400.00   $1,400.00
6/17/2021 Noel Johnson      outline/draft reply brief                         3.5      3.5 $400.00
                            Review local rules re: reply brief deadline and
                                                                                                       $40.00      $40.00
6/17/2021 Noel Johnson      page limit                                        0.1      0.1 $400.00
                            Continue drafting summary judgment reply
                                                                                                     $1,040.00   $1,040.00
6/18/2021 Noel Johnson      brief                                             2.6      2.6 $400.00
                            Continue drafting summary judgment reply
                                                                                                     $1,000.00   $1,000.00
6/21/2021 Noel Johnson      brief                                             2.5      2.5 $400.00
6/21/2021 Noel Johnson      Legal research for summary judgment reply         0.3      0.3 $400.00    $120.00     $120.00
                            Continue drafting summary judgment reply
                                                                                                      $360.00     $360.00
6/22/2021 Noel Johnson      brief                                             0.9      0.9 $400.00
                            Continue drafting summary judgment reply
                                                                                                     $1,560.00   $1,560.00
6/23/2021 Noel Johnson      brief                                             3.9      3.9 $400.00
                            Continue drafting summary judgment reply
                                                                                                     $2,160.00   $2,160.00
6/24/2021 Noel Johnson      brief                                             5.4      5.4 $400.00
6/25/2021 Kaylan Phillips   Review SJ reply                                     2        2 $400.00    $800.00     $800.00
6/25/2021 Kaylan Phillips   C with NHJ re: next steps.                        0.1      0.1 $400.00     $40.00      $40.00
                            Continue drafting summary judgment reply
                                                                                                     $1,880.00   $1,880.00
6/25/2021 Noel Johnson      brief; legal research re: same                    4.7      4.7 $400.00
                            Review/incorporate KLP/LK edits to summary
                            judgment reply; make additional revisions to                              $440.00     $440.00
6/26/2021 Noel Johnson      same                                              1.1      1.1 $400.00



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 6/28/2021 Kaylan Phillips   Work on reply                                    1.5      1.5 $400.00   $600.00   $600.00
 6/28/2021 Kaylan Phillips   C with colleagues re: SJ reply arguments         0.8      0.8 $400.00   $320.00   $320.00
                             Draft table of contents and authorities for
                                                                                                     $120.00   $120.00
 6/28/2021 Noel Johnson      summary judgment reply                           0.3      0.3 $400.00
                             Make revisions to summary judgment reply
                                                                                                     $120.00   $120.00
 6/28/2021 Noel Johnson      re: Initial Statewide Analysis stats             0.3      0.3 $400.00
                             Review/incorporate KLP and LK revisions to
                                                                                                     $320.00   $320.00
 6/28/2021 Noel Johnson      final draft summary judgment reply               0.8      0.8 $400.00
                                                                                                     $400.00   $400.00
 6/28/2021 Noel Johnson      Proof final summary judgment reply; file same     1         1 $400.00
                             Review/incorporate JCA edits to summary
                                                                                                     $360.00   $360.00
 6/28/2021 Noel Johnson      judgment reply                                   0.9      0.9 $400.00
                             Add record citations to summary judgment
                                                                                                     $200.00   $200.00
 6/28/2021 Noel Johnson      reply                                            0.5      0.5 $400.00
                             Cut words from summary judgment reply to
                                                                                                     $240.00   $240.00
 6/28/2021 Noel Johnson      conform to word limit                            0.6      0.6 $400.00
                             PC with LC re: review of discovery/records for
                                                                                                      $80.00    $80.00
 6/28/2021 Noel Johnson      summary judgment reply                           0.2      0.2 $400.00

                             Review Defs. response to statement of facts;                            $440.00   $440.00
 6/28/2021 Noel Johnson      take notes for summary judgment reply            1.1      1.1 $400.00
                             PC with JCA/KLP re: summary judgment reply
                                                                                                     $120.00   $120.00
 6/28/2021 Noel Johnson      arguments                                        0.3      0.3 $400.00
                             C with KLP re: summary judgment reply
                                                                                                      $80.00    $80.00
 6/28/2021 Noel Johnson      arguments                                        0.2      0.2 $400.00
                             ECF for defendants summary judgment reply;
                                                                                                     $160.00   $160.00
 6/29/2021 Noel Johnson      review same                                      0.4      0.4 $400.00
                                                                                                      $40.00    $40.00
10/12/2021 Noel Johnson      Review opposition to amicus motion for leave     0.1      0.1 $400.00
                             Proof/revise press release for summary
                                                                                                      $80.00     $0.00
  4/1/2022 Noel Johnson      judgment decision                                0.2        0 $400.00
                             Review summary judgment order; emails with
                                                                                                     $280.00   $280.00
  4/1/2022 Noel Johnson      team re: same                                    0.7      0.7 $400.00




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                            Prep for radio interview/rconduct radio
                                                                                                    $240.00       $0.00
 4/6/2022 Noel Johnson      interview                                       0.6        0 $400.00
 4/6/2022 Noel Johnson      PC with LK                                      0.4      0.4 $400.00    $160.00     $160.00
                            PC with LK re: fee petition and letter re:
                                                                                                    $120.00     $120.00
 4/6/2022 Noel Johnson      compliance with order                           0.3      0.3 $400.00
                            Draft joint motion for fee petition briefing
                            schedule and proposed order; email to                                   $120.00     $120.00
 4/8/2022 Noel Johnson      counsel                                         0.3      0.3 $400.00
                            Emails with counsel re: briefing schedule for
                                                                                                     $40.00      $40.00
4/11/2022 Noel Johnson      fee petition; revise draft of same; file        0.1      0.1 $400.00
                            ECF motion to clarify and motion to
                            reconsider; check local rules; calendar                                  $40.00      $40.00
4/15/2022 Noel Johnson      response                                        0.1      0.1 $400.00
4/18/2022 Kaylan Phillips   C with NHJ re: motion for clarification         0.5      0.5 $400.00    $200.00     $200.00
4/18/2022 Kaylan Phillips   C with NHJ re: fee petition                     0.1      0.1 $400.00     $40.00      $40.00
                            Review motion for clarification and partial
                                                                                                     $40.00      $40.00
4/18/2022 Kaylan Phillips   reconsideration                                 0.1      0.1 $400.00
                            Review motion to clarify and reconsider; C
                                                                                                    $400.00     $400.00
4/18/2022 Noel Johnson      with KLP to discuss same                         1         1 $400.00
                            Work on response to motion to clarify and
                                                                                                    $840.00     $840.00
4/19/2022 Noel Johnson      reconsider                                      2.1      2.1 $400.00
4/20/2022 Kaylan Phillips   C with NHJ re: work product                     0.1      0.1 $400.00     $40.00      $40.00
                            Work on response to motion to clarify and
                                                                                                    $840.00     $840.00
4/20/2022 Noel Johnson      reconsider                                      2.1      2.1 $400.00
                            Work on response to motion to clarify and
                                                                                                   $1,160.00   $1,160.00
4/21/2022 Noel Johnson      reconsider                                      2.9      2.9 $400.00
                            Work on response to motion to clarify and
                                                                                                    $760.00     $760.00
4/22/2022 Noel Johnson      reconsider                                      1.9      1.9 $400.00
4/25/2022 Kaylan Phillips   C with NHJ re: response to motion to clarify    0.1      0.1 $400.00     $40.00      $40.00
4/25/2022 Kaylan Phillips   C with NHJ re: fee petition                     0.2      0.2 $400.00     $80.00      $80.00
4/25/2022 Noel Johnson      Compile and sort billing entries                0.2      0.2 $400.00     $80.00      $80.00
                            Work on response to motion to clarify and
                                                                                                   $1,240.00   $1,240.00
4/25/2022 Noel Johnson      reconsider                                      3.1      3.1 $400.00
4/26/2022 Noel Johnson      Compile and sort billing entries                0.2      0.2 $400.00     $80.00      $80.00


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4/27/2022 Kaylan Phillips   Review response to motion to reconsider          0.5      0.5 $400.00    $200.00    $200.00
                            C with NHJ re: proposal from Defendants re:
                                                                                                     $240.00      $0.00
4/28/2022 Kaylan Phillips   mediation and next steps.                        0.6        0 $400.00
                            C with NHJ re: response to motion to
                                                                                                      $40.00     $40.00
4/28/2022 Kaylan Phillips   reconsider                                       0.1      0.1 $400.00

                            Emails with counsel re: motion to amend,
                                                                                                     $320.00    $320.00
                            motion for mediation, and motion to stay. C
4/28/2022 Noel Johnson      with KLP re: same; PC with LK/KLP re: same       0.8      0.8 $400.00
                            Proof/revise response to motion for
                                                                                                     $160.00    $160.00
4/28/2022 Noel Johnson      reconsideration/clarification; file same         0.4      0.4 $400.00
                            Review/incorporate KLP edits to response to
                                                                                                     $160.00    $160.00
4/28/2022 Noel Johnson      motion to reconsider/clarify                     0.4      0.4 $400.00
                            Review draft joint motion for mediation and
                            stay; PC with LK; revise same; email with                                $200.00      $0.00
4/29/2022 Noel Johnson      counsel                                          0.5        0 $400.00
                            PC with KLP/LK re: mediation/stay of
                                                                                                     $320.00      $0.00
4/29/2022 Noel Johnson      proceedings proposed by opposing counsel         0.8        0 $400.00
                            Draft notice of unavailability; PC with LK re:
                                                                                                      $80.00     $80.00
 5/4/2022 Noel Johnson      same; emails                                     0.2      0.2 $400.00
5/11/2022 Kaylan Phillips   Call with magistrate to schedule mediation       0.3        0 $400.00    $120.00      $0.00
                            Telephonic status conference re: mediation
                                                                                                     $120.00      $0.00
5/11/2022 Noel Johnson      conference                                       0.3        0 $400.00
6/13/2022 Noel Johnson      Book travel for mediation                        0.3        0 $400.00    $120.00      $0.00
                            Review rules; search for exemplars; begin
                                                                                                     $440.00      $0.00
6/14/2022 Noel Johnson      drafting confidential mediation statement        1.1        0 $400.00
                            Continue drafting confidential mediation
                                                                                                      $40.00      $0.00
6/15/2022 Noel Johnson      statement                                        0.1        0 $400.00

                            Continue drafting confidential mediation                                $1,000.00     $0.00
6/16/2022 Noel Johnson      statement; calculate attorney fees and costs     2.5        0 $400.00
                            PC with Dan Brier re: rescheduling mediation;
                                                                                                     $200.00      $0.00
6/17/2022 Noel Johnson      PCs with team re: same                           0.5        0 $400.00




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                            Continue drafting confidential mediation                                 $40.00    $0.00
6/17/2022 Noel Johnson      statement; calculate attorney fees and costs    0.1        0 $400.00
                            Conference with court re: mediation. Adjust
                                                                                                    $400.00    $0.00
6/21/2022 Kaylan Phillips   travel plans accordingly.                        1         0 $400.00
                            C with NHJ re: mediation. Research re:
                                                                                                    $240.00    $0.00
 8/8/2022 Kaylan Phillips   attorney rate                                   0.6        0 $400.00
                            Continue working on confidential mediation
                            statement, compile fees and costs                                       $680.00    $0.00
 8/8/2022 Noel Johnson      documentation                                   1.7        0 $400.00
                            Review mediation memo. Send changes.
                                                                                                    $200.00    $0.00
 8/9/2022 Kaylan Phillips   Emails re: same.                                0.5        0 $400.00
                            Continue working on confidential mediation
                            statement, compile fees and costs                                       $640.00    $0.00
 8/9/2022 Noel Johnson      documentation                                   1.6        0 $400.00

                            Review/ and incorporate KLP/LK edits to
                                                                                                    $160.00    $0.00
                            confidential mediation statement; email with
8/10/2022 Noel Johnson      JCA re: same; proof and email to chambers       0.4        0 $400.00
8/16/2022 Kaylan Phillips   Travel to PA for mediation                        4        0 $400.00   $1,600.00   $0.00
8/16/2022 Noel Johnson      Travel to mediation; prep for same                4        0 $400.00   $1,600.00   $0.00
8/17/2022 Kaylan Phillips   Attend mediation. Travel home.                  12         0 $400.00   $4,800.00   $0.00
8/17/2022 Noel Johnson      Attend in-person mediation                        8        0 $400.00   $3,200.00   $0.00
8/18/2022 Noel Johnson      Travel from PA to IN (mediation)                  4        0 $400.00   $1,600.00   $0.00
                            Calls with magistrate and team re: mediation
                                                                                                    $400.00    $0.00
 9/6/2022 Kaylan Phillips   progress. Emails re: same.                        1        0 $400.00
 9/6/2022 Noel Johnson      PC with LK                                        1        0 $400.00    $400.00    $0.00
 9/6/2022 Noel Johnson      PC with Court re: mediation                     0.2        0 $400.00     $80.00    $0.00
                            PC with Court re: mediation and settlement;
                                                                                                    $360.00    $0.00
 9/6/2022 Noel Johnson      PC with team re: same                           0.9        0 $400.00
                                                                                                    $400.00    $0.00
 9/9/2022 Kaylan Phillips   Call re: mediation progress. Emails re: same.     1        0 $400.00
 9/9/2022 Noel Johnson      PC with KLP/LK re: mediation                    0.7        0 $400.00    $280.00    $0.00
9/12/2022 Noel Johnson      PC with Judge Saporito re: mediation            0.2        0 $400.00     $80.00    $0.00


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 9/22/2022 Kaylan Phillips   Mediation conference                             0.4        0 $400.00    $160.00       $0.00
 9/26/2022 Noel Johnson      Email to team re: status; next steps             0.4      0.4 $400.00    $160.00     $160.00
                             Emails re: Defendants' "supplemental
                                                                                                      $160.00     $160.00
10/18/2022 Kaylan Phillips   production" and next steps for briefing          0.4      0.4 $400.00
                             Emails re: Defendants' "supplemental
                                                                                                       $40.00      $40.00
10/19/2022 Kaylan Phillips   production" and next steps for briefing          0.1      0.1 $400.00
                             Emails re: Defendants' "supplemental
                             production" and next steps for briefing. Draft
                                                                                                      $680.00     $680.00
                             motion for extension of time. Conferences
10/20/2022 Kaylan Phillips   with LK re: same.                                1.7      1.7 $400.00
                             Emails re: Defendants' "supplemental
                             production" and next steps for briefing.
                             Review response to Defendants' motion for                                $440.00     $440.00
                             extension of time. Conferences with NHJ and
10/21/2022 Kaylan Phillips   LK re: same.                                     1.1      1.1 $400.00
                             Emails and PC with KLP/LK re: response re:
                             motion to extend briefing deadlines; review                              $280.00     $280.00
10/21/2022 Noel Johnson      draft of same                                    0.7      0.7 $400.00
                             Emails re: response to Defendants' motion. C
                                                                                                      $200.00     $200.00
10/24/2022 Kaylan Phillips   with NHJ re: same.                               0.5      0.5 $400.00
                             Review Defendant's motion to alter. Review
                                                                                                      $680.00     $680.00
10/24/2022 Kaylan Phillips   response. Edit and return.                       1.7      1.7 $400.00
                             Work on response to motion to amend
                                                                                                     $1,080.00   $1,080.00
10/24/2022 Noel Johnson      judgment; PC with KLP re: same; emails           2.7      2.7 $400.00
                             Emails re: data needed for attorneys fees
                                                                                                      $120.00     $120.00
10/25/2022 Kaylan Phillips   motion                                           0.3      0.3 $400.00
10/25/2022 Kaylan Phillips   Scheduling order. Emails re: same.               0.2      0.2 $400.00     $80.00      $80.00
                             Proof final draft response to motion to amend
                                                                                                      $360.00     $360.00
10/25/2022 Noel Johnson      judgment                                         0.9      0.9 $400.00
                             Review/incorporate KLP and LK edits to
                                                                                                      $160.00     $160.00
10/25/2022 Noel Johnson      response to motion to amend judgment             0.4      0.4 $400.00
11/11/2022 Kaylan Phillips   C with team re: filings today                    0.6      0.6 $400.00    $240.00     $240.00
11/11/2022 Noel Johnson      Draft motion to show cause/sanctions             2.2      2.2 $400.00    $880.00     $880.00




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                             C with team re: email from opposing counsel
                                                                                                      $280.00   $280.00
11/14/2022 Kaylan Phillips   and next steps needed.                            0.7      0.7 $400.00
                             PC with KLP and LK re: response to counsel's
                                                                                                      $240.00   $240.00
11/14/2022 Noel Johnson      email re: motion to show cause                    0.6      0.6 $400.00
11/15/2022 Noel Johnson      PC with LK re: motion to show cause               0.3      0.3 $400.00   $120.00   $120.00
11/21/2022 Kaylan Phillips   Emails re: next steps                             0.2      0.2 $400.00    $80.00    $80.00
11/22/2022 Kaylan Phillips   Emails and calls re: motion to strike             0.5      0.5 $400.00   $200.00   $200.00
                             Emails re: attorneys fees motion. Gather
                                                                                                      $120.00   $120.00
11/22/2022 Kaylan Phillips   documents for rate expert.                        0.3      0.3 $400.00
11/28/2022 Kaylan Phillips   Emails and calls re: attorneys fees motion.       0.5      0.5 $400.00   $200.00   $200.00
11/29/2022 Kaylan Phillips   Emails and calls re: attorneys fees motion.       0.1        0 $400.00    $40.00     $0.00
11/30/2022 Kaylan Phillips   Emails and calls re: attorneys fees motion.       0.1        0 $400.00    $40.00     $0.00
                             Review motion to strike; email to team re:
                                                                                                       $80.00    $80.00
11/30/2022 Noel Johnson      same                                              0.2      0.2 $400.00
 12/1/2022 Kaylan Phillips   Emails and calls re: attorneys fees motion.       0.1        0 $400.00    $40.00     $0.00
                             Work on response to motion to strike motion
                                                                                                      $840.00   $840.00
 12/1/2022 Noel Johnson      to show cause                                     2.1      2.1 $400.00
 12/2/2022 Kaylan Phillips   Emails and calls re: attorneys fees motion.       0.1        0 $400.00    $40.00     $0.00
                             Work on response to motion to strike motion
                                                                                                      $320.00   $320.00
 12/2/2022 Noel Johnson      to show cause                                     0.8      0.8 $400.00
 12/5/2022 Kaylan Phillips   Emails re: response to motion to strike           0.2      0.2 $400.00    $80.00    $80.00
                             Emails re: response to motion to strike.
                                                                                                      $400.00   $400.00
 12/6/2022 Kaylan Phillips   Review draft. Review as filed.                     1         1 $400.00
                             Proof/revise final draft response to motion to
                             strike; review/incorporate KLP/LK edits to                               $160.00   $160.00
 12/6/2022 Noel Johnson      same; PCs with LK re: same                        0.4      0.4 $400.00

                                                                                                      $280.00   $280.00
 12/9/2022 Kaylan Phillips   C with NHJ re: fee petition. Emails re: same.     0.7      0.7 $400.00
 12/9/2022 Noel Johnson      PC with LK re: fee petition status and needs      0.3      0.3 $400.00   $120.00   $120.00
                             Work on declaration of Noel H. Johnson in
                                                                                                      $160.00   $160.00
 12/9/2022 Noel Johnson      support of fee petition                           0.4      0.4 $400.00

                             Review billing entries and make billing                                  $880.00   $880.00
 12/9/2022 Noel Johnson      judgments; create exhibit for billing statement   2.2      2.2 $400.00



                                                                                 Exhibit 1 - Foundation Billing Statement
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                             Review fee petition memo; research for same;
                                                                                                       $640.00     $640.00
12/11/2022 Noel Johnson      revise same                                      1.6       1.6 $400.00
12/11/2022 Noel Johnson      Review draft Kerns Declaration                   0.2       0.2 $400.00      $80.00      $80.00
12/12/2022 Noel Johnson      Continue revising fee petition memo              0.4       0.4 $400.00    $160.00     $160.00
                                                                  TOTALS    485.9     415.5         $194,360.00 $166,200.00

           Hours Reduced for
           Billing Judgment  70.4
           Value of Billing
           Judgments         $28,160.00

           Comepsation
           Requested for
           Foundation
           Attorneys' Time
           (through 12-12-22) $166,200.00




                                                                                Exhibit 1 - Foundation Billing Statement
